Case 1:17-cv-05221-LLS Document 159-1 Filed 09/29/20 Page 1 of 8




             EXHIBIT 1
 Case 1:17-cv-05221-LLS Document 159-1 Filed 09/29/20 Page 2 of 8



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STATES
            COURT!


  UNITED

 !"
                  DISTRICT

               !  #NEW
                            $% !&


  SOUTHERN   DISTRICT   OF       YORK

 ''''''''''''''''''''''''''''''''''''''(

KATHRYN
  &"%  !$)  ##*ETAL.,
                                      +,*
                                                 x



 
            TOWNSEND

            - .
                      GRIFFIN,

                      / 01 20334*
 
EDWARD '/5/0 14 2'
                   Plaintiffs,

  $CHRISTOPHER
            "!-"SHEERAN,
               -against-
                         "*ETAL.,
                                        +,*

   63 61 7/1 24,
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
 '
   '
    '
     '
  CASE 
       '
        '!
         '8
          '
        NO: 
            '
             '
              '8
               '
                '9
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                      ' ;
                        '<
                         ' =
                           '=
                            '
                   Defendants.

                             ' '
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                                   ')
                                    ' 
                                      '
              1:17-CV-05221-RJS/GRIFFIN
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                                            ''''(
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   9
                           7 0
                            6D%@64 A
                                 ECF*
                             Times     B/C 6
                                        6D%
                                    Square
                                             ECF
                                                 x


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                           New  York,  New  York


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                                a.m.
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                                    ,1,    ;I
                                         2018



Videotaped
         :076E2/K67   6KE4020E1E   3the
                                        2L6

63617/12EDWARD
                      Deposition

              $CHRISTOPHER
                                    of

                        "!-"SHEERAN,
                                      "*


  Defendant

 KBC4B/12to2EE20M6*before
                           G63EC6CINDY
                                    %A.,AFANADOR,
                                              #!*


  pursuant      Notice,


/
  aE2/CHPublic
    Notary   -BG.0ME 3the
                     of  2L6State
                               2/26of
                                      E3 6D%
                                         New   ECF,
                                              York.


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   %# !   ! - !)*INC.
                                                ,
  
        CINDY
             
D 
               AFANADOR
                        < N'O J
                           COURT
                                '=NJ O
                                  REPORTING,

                DD,M017HMEBC2C6KEC2015,ME@
                        516-491-2694

              www.cindycourtreporting.com




                     01234567626389508
                                39 59
                                         84889 125120
                     CINDY AFANADOR COURT REPORTING, INC.
                                1-877-DEPO-YOU
     Case 1:17-cv-05221-LLS Document 159-1 Filed 09/29/20 Page 3 of 8



                                                                        
                                                                        62

   
1 Edward
                    Christopher
                              !"#$%Sheeran
                                              &%%'
2 (Q.)* #did
                        How   +  #,come
                                   you  -#.%to"#the
                                                  "%
3/ - #'-0,! #'that
        conclusion    ""the
                            "%! #'1had
                                 song   sounds
                                              !#,'!22similar
                                                          ! . 0
34 ! #,'!to
        sounds   "# "+
                    what    #,and
                           you  'Amy
                                     4.+had
                                             ""%'
                                                written

55 together
        "#1%"%earlier?
                   %0 %6
6 MS.7&)FARKAS:
                             849:4&;<    %=#
                                          Yeah,   >?%-" #')
                                                 objection.

@7 A. 4)IAjust
                           ?,!"B '%='cause
                                          C-,!%it"  !
                                                           a !#'1
   
8D that
        "" %   ""%'
                                 knew,

                                  'IA
                                                      was

                                           %-#1' E%the
                                                              song

                                                        "%vocal
                                                             F#-0
G9 melody
              we

        .%0#+and
                  had

                 'as
                       written

                      !! ##'as
                                 and

                                !IA
                                          recognized

                                        %-#1' E%it, "=IAgot
                                                             1#"
H  in'touch
            "#,-
                         soon

                      " % '
                                       recognized

                                     %sourced
                                        !#,-%it"#   ,")
10

  (
                   with  her

                 )Okay.
                        IB+)
                               and  we                out.

11

          Q.
       J   "  %%the
                                     "%circumstances
                                           - -,.!"'-%!that""
12

/  brought
        >#,1"+  #,
                        What

                        'Ms.
                               were

                            7!)J 1%together
                                          "#1%"%  %'+  #,
13

3   %%
                  you  and

                " '1"Thinking
                                 Wadge

                        KL 'B '1OutI,"Loud";
                                           M#,KNdid
                                                     when

                                                     +
                                                           you

                                                          #,get
                                                              1%"
14

5   were  writing

       together
        "#1%"%to"#  "%!  #'1!#   %%+
                                                         you

                                                  #,getting
                                                      1%"" '1
15

  together
        "#1%"%as
                       write

                   !friends?
                       O %'!6
                               songs   or  were  you

16
      
@ 
17
      A.
               4)Both,
                        P#"=IAguess.
                                  1,%!!)<    %=
                                              Yeah,   %
                                                     we   %
                                                         are

D 
18
      friends.
        O %'!)
G 
19
      (Q.)And
                        4'  %%
                             where     !that?
                                     was   ""6
20H 
      A.
               4)InA'my
                            .+house
                                #,!%in'&   ,OO#0B)
                                            Suffolk.

21 
      (Q.)Q #+
                        Do   #,
                            you   %-00
                                 recall     %'+
                                           when   #,began
                                                 you  >%1'
22 
       %-# '1the
        recording   "%!  #'1!for
                         songs   O#"x"?
                                       KRK6
/ 
23
      MS.7&)VIKER:
                             SA:9;Q  DidIAget
                                                1%"it"  1"6
                                                         right?

243 A.4)No.
                        T#)
     
255 (   )Q #+ #, F%any
                                        '+  %-#00%-" #'ifO
                                              recollection
               Q.       Do  you  have


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     Case 1:17-cv-05221-LLS Document 159-1 Filed 09/29/20 Page 4 of 8



                                                                        
                                                                        63

   
1 Edward
                     Christopher
                              !"#$%Sheeran
                                             &%%'
2( it"!before
            was  )%*#%+  #,
                         you    'Amy
                               and -.+/  0%got
                                         Wadge  0#"together
                                                     "#0%"%
3 
        at"the
            "%house
                 #,!%in'& ,**#12in'February
                            Suffolk       3%),+# of*2014?
                                                         (456
54 A.-7It
                        8" #,1
                            would    9%been,
                                    have  )%%':+  %7I8
                                                  yeah.

5;  #,1
        would    9%been
                have  )%%'making
                            .2 '0the
                                     "%album
                                          1),.for
                                                  *#about
                                                       )#,"a
6 + %:I8imagine.
        year,      .0 '%7
<7 =    7A-+ %before
                                 )%*#%its"! %1%!%or#
   
8> +
                Q.

          %before
              )%*#%+
                           year

                        #, 'Amy
                                 -.+got
                                               release

                                      0#"together?
                                           "#0%"%6
                                                            a



?9  year

       A.
                       you

                -7/
                            and

                         %11:  %'I8finished
                                         * ' !%"+",
                                                    @A@:I8
4   #,1
                        Well,

                 9%started
                                when

                      !""%"x",
                                @B@:but
                                      ),"I8don't
                                              #'C"2  '#%'7
10

   would

       =
                have

                 7Okay.
                        D2+7
                                                     know  when.

11

(  A.
                Q.

                -7So..
                        &#777
12

  =  7E #+
                             .

                             #, %F11  "$  #.$"%or
                                                           #
13

5           Q.

       initiated
          ' " "%that
                        Do

                     ""
                            you  recall

                             " '0session
                                          what  prompted

                                     !%!! #'that
                                               ""led
                                                     1%to
                                                          "#
14

;  "Thinking
        @G '2 '0D
                           writing

                      ,"Loud"?
                         H#,@6
15

  A.
                     Out

                -7I %:  %CF #.%to"#  "%--
                                                        JJshe
                                                           !%
16
                       Yeah,   we'd  come      write

< 
17
      ' %%%to
        needed   "#  "%#
                     write   '%more
                            one  .#%song
                                       !#'0to"#get
                                                  0%"out
                                                       #,"of
                                                           #*
> 
18
       %deal.
        her  %17So&#! %!
                         she     come
                               said  F#.%  '
                                           and     "%
                                                write   a!#'0:
                                                          song,

? 
19
       '
        and   %started
             we  !""%to"#  "%
                               write  a !#'0for
                                         song  *#an
                                                    ' " !"
                                                        artist

(204 
      F 11%Martin
        called   K" 'L   B:
                         Garrix,      Fis!asong
                                    which         !#'0F 11%
                                                        called

(21 
      "Rewind
        @M% 'Repeat
                  M%$%"It",
                           8"@:  F+
                                 which    #,F
                                         you   'find
                                              can  * 'online,
                                                         #'1 '%:
(22( 
       'that
        and  ""  !gonna
                   was  0#''get
                                0%"her
                                     %out
                                          #,"of
                                               #* %deal,
                                                   her  %1:
( 
23
      basically.
        )! F11+7
(245 =   7Okay.
                        D2+7
     
(25; A.
                Q.

                -7'Cause
                        C,!%deals
                                 %1!  #2in'! #'0!:so
                                                           !#
                                         work      songs,


                         01234567626389508
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     Case 1:17-cv-05221-LLS Document 159-1 Filed 09/29/20 Page 5 of 8



                                                                        
                                                                        64

   
1 Edward
                    Christopher
                               !"#$%Sheeran
                                             &%%'
2( !%
        she   like
             had  ) *%15+! #',!to
                            songs   "#commit
                                        -#.. "to
                                                "#and
                                                    'she'd
                                                        !%/
30 done
        #'%14,
              1so
                   !#!  %just
                       she  23!"'  %%%#
                                   needed    '%more.
                                           one  .#%4
4 5Q.4She
                         &%just
                              23!"' %%%that
                                    needed   ""# '%last
                                                  one  )!"
5+ !#',6
        song?

6 A.
               74Pretty
                         8%""9much.
                                 .3-4
:7 5    4Okay.
                         ;*94
   
8<         Q.
       =    %))1there
                                "%%is!!  #"of
                                                 #>folklore
                                                     >#)*)#%
?9 that's
        ""/!*   '#
                         Well,

                         >been
                           @%%'built
                                 @3 )"3
                                           sort

                                          $1if>9#3  ))1in'
A  
                 kind  of

         #3'"Thinking
                 BC '* ',Out;3"Loud",
                                         up,

                                   D#3B1
                                                 you

                                             'the
                                                "%!
                                                      will,

                                                      "#9that
                                                            ""
10

   around

       !%%.!to
               "#be
                   @%told,
                       "#)1that
                               ""9  #3
                                           and       story

                                           %%in'ashower
                                                      !#%
11

(   seems

       '9 #3 %  %$
                                     you

                                )9 ',
                                          were

                                         a  >>6
12

0   and  you

       A.
                  heard

               74E
                          her

                          %4
                               playing     riff?

13

  5
                         Yeah.

                 4And
                         7'got
                              ,#"inspired;
                                    '!$ %Fis!that
                                                  ""true?
                                                        "3%6
14

+          Q.
       A.
               74Very
                         G%9true.
                               "3%4
15

  MS. H&4FARKAS:
                              I7JK7&L;  @2%-" #'1
16
                                        Objection,

: 
17
      mischaracterized
               . !--"% M%"riffs."
                                     B >>!4B
< 
18
      A.
               74E   %1
                         Yeah,   %
                                we   %%going
                                    were  ,# ',out
                                                 #3"for
                                                      >#
? 
19
      dinner
         ''%that
                 ""'   ,"
                       night    '
                               and   %/just
                                    we'd  23!"finished
                                                > ' !%
(20A 
       " ',that
        writing   ""song
                         !#', '
                               and   %
                                    we   %%going
                                        were  ,# ',to
                                                     "#have
                                                        N%a

(21 
      little
        ) "")%celebration
                 -%)%@" #'about
                                @#3"doing
                                        # ',the
                                               "%song.
                                                    !#',4
(22( 
      5Q.4Finishing
                         I ' ! ',song
                                     !#',15?
                                           +6
(0 
23
      A.
               74E   %1finishing
                         Yeah,  > ' ! ',the"%song
                                                 !#', '
                                                       and

(24 doing
        # ',  " %! %"# 3"to
                                    "#do.
                                        #4IO%'"upstairs
                                                      3$!" !
     
(25+ to
        "#have
               what

            N%
                      we  set  out              went

                  a!#%to
                    shower    "#go
                                 ,#out
                                     #3"to
                                          "#dinner
                                               ''%and
                                                      'as
                                                          !IO
                         01234567626389508
                                    39 59
                                             84889 125120
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     Case 1:17-cv-05221-LLS Document 159-1 Filed 09/29/20 Page 6 of 8



                                                                        
                                                                        65

   
1 Edward
                    Christopher
                               !"#$%Sheeran
                                             &%%'
2( )*%out
        walked  #+"the
                      "%shower,
                            !#%,I-heard
                                        %achord
                                                 .#
3/ !%0+%'.%1And
        sequence.     2'then
                            "%'we%%'"for
                                      went  3#dinner
                                                 ''%and
                                                         '
44 %'
        when we%. 5%back,
                  came   6.*,  %finished
                                 we  3 ' !%it.
                                                "1
5 7 18
               Q.         #9
                         Do   #+
                             you    %.))
                                  recall    "that
                                           what ""chord
                                                      .#--::
6 "that
        what ""   !that
                     was  ""9  #+heard,
                                 you  %,that
                                              ""  33,that
                                                   riff,   ""
;7 .  #<
   
8=  chord?

       MS. >&1FARKAS:
                              ?2@A2&BC  6D%." #'1
E9 A.
               21It's
                         -"F!four
                                         Objection.

                               3#+chords
                                      .#!that
                                              ""get
                                                   G%"used
                                                         +!%in'
H  
        a)#"# 3songs.
                   !#'G!1
10

     lot

       7
               of

                1Okay.
                         C*91
11

(          Q.
       And 2' !that
                                    ""  33that
                                               ""! % !
12

/  $)9 'Gpart
                  $"of
                              was

                         #3the
                             "%final
                                  3 ')
                                         riff        she

                                          %.#%version
                                                          was

                                                   I%! #'of #3
13

4   playing

       "Thinking
        JK '* 'GC   +"Loud"?
                          L#+J<
                                         recorded

14

  A.
                    Out

               21No.M#1
15

  MS. >&1FARKAS:
                              ?2@A2&BC  6D%." #'1
16
                                        Objection.

; 
17
      N    #+*
                         You   %%$+
                              keep    ! 'Gthe
                                     using  "%#"riff."
                                                word  J 331J
= 
18
      O %F!'
               He's    %I%said
                      never   ! the
                                     "%#"riff"
                                         word  J 33J!so#I'm
                                                           -F5
E 
19
      going
               G# 'Gto"#have
                            I%to
                                  "#object.
                                      #6D%."1
(20H 
      MS. >&1VIKER:
                              P-A@BOkay.
                                        C*91
(21 
      MR. >@1FRANK:
                              ?@2MABChord
                                        #progression.
                                               $#G%!! #'1
(22( 
      7 1Q
               Q.         !it"the
                         Was      "%! 5%chord
                                       same  .#progression
                                                   $#G%!! #'
(/ 
23
      that
        ""9 #+heard
              you  %that
                            ""made
                                  5%it"into
                                             '"#the
                                                 "%final
                                                      3 ')
(244 version
        I%! #'#  3"Thinking
                      JK '* 'GOut C+"Loud"?
                                        L#+J<
     
                  of

(25 MS.  >&1FARKAS:
                              ?2@A2&BC  6D%." #'1
                                         Objection.


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     Case 1:17-cv-05221-LLS Document 159-1 Filed 09/29/20 Page 7 of 8



                                                                        
                                                                        66

   
1 Edward
                    Christopher
                             !"#$Sheeran
                                            %$$&
2' A.
               ()Might
                       *+!&  "!have
                               not  ,$been
                                          -$$&the
                                                 !$same
                                                       .$/ $01
                                                            key,

32 but
        -3!it
             ! the
                was  !$same
                           .$four
                                4"3chords,
                                       5" 10  $)
                                                 yes.

64 7 )And
               Q.      (&then
                            !$&0  "3
                                   you   $&!to
                                        went  !"dinner?
                                                  &&$8
59 A.
               (): $#)
                       Yep.

6 7 )Came
               Q.      .$back.
                             -5/);   $<<me
                                       Tell  .$ !
                                                 what   ##$&$
                                                       happened

=7 &  $>!1# <$ $)
   
8?  next,  please.

       A.
               ()So
                       %"my
                           .0--
                               @@this
                                  ! is quite
                                             A3!$# $ "&<1
B9 but
        -3!my
             .0grandmother
                +&."!$has --
                                    @@she
                                         $ --
                                                    personal,

                                                  @@ $<<1she
                                                              $
C  # $away
                0& "1but
                            -3!she
                                  $had
                                       
                                             had

                                             $<<0bad
                                                      well,

                                                    -legs
                                                         <$+
10

   passed

       &5
                      now,

              "3<&D! $<<0
                                            really

                                 </anymore.
                                       &0."$)So%"that
                                                       !! 
11

'   and

       the
             couldn't

        !$first
             4 !line
                       really

                    <&$that
                          !!5
                                walk

                                 .$to!"me,
                                          .$1"When
                                               EF$&0  "3
                                                             was

12

2  legs
        <$+ don't
              "&D! "/like
                                came

                           </$they
                                 !$03   $to
                                              !"before
                                                       your

                                                  -$4"$and
                                                          &IG
13

6  5&D!sweep
                     work

                $$#0 "3" 44" 40
                                        used

                                     "3feet,"
                                          4$$!1Eand
                                                   &Amy
                                                        (.0had
                                                             
14

9   can't

       grandparents,
                      you

        +&#$&! 1IG
                           off  of  your

                            grandparents,
                                +&#$&! 1IG    in
                                                         &a
15

  $<!"& #at
                           had

                       !the
                           !$time,
                                !.$1Amy
                                        (.0
                                                    was

                                               married,
                                                  .$1  $
16
       relationship                         was             we

= 
17
      drew
        $from
              4".experiences
                    $>#$$&5$ that
                                  !!  $
                                         we   in
                                             had  &life
                                                     <4$
? 
18
      /&"&+
        knowing   -"3!love.
                 about  <",$)
B 
19
      7 );
               Q.       !D very
                       That's   ,$0sweet.
                                        $$!)
'20C 
      A.
               (); &/0
                       Thank    "3)
                               you.

'21 
      7 )H
               Q.       "0
                       Do   "3
                           you   $5<<
                                recall    !the
                                         what  !$specific
                                                     #$545
'22' 
      5"#
        chord   "+$ "&
               progression     8
                             was?

'2 
23
      A.
               ()It's
                       G!D four
                             4"3chords
                                    5" that
                                             !!get
                                                   +$!like
                                                        </$--
                                                              @@
'246 part
        #!music
              .3 5is
                      essentially
                        $ $&!<<0four 4"3chords,
                                              5" 1so"it's
                                                            !D
     
'259 the
        !$four
             4"3chords
                  5" that
                           !!IG "3<use
                                            3 $in
                                                 &every
                                                    $,$0song
                                                             "&+
                                    would


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     Case 1:17-cv-05221-LLS Document 159-1 Filed 09/29/20 Page 8 of 8



                                                                        
                                                                        67

   
1 Edward
                     Christopher
                              !"#$%Sheeran
                                            &%%'
2( I)  "%*+
           write,    %,
                    yeah.

3- .  ,Is
                Q.      )!that
                            ""the
                                   "%part
                                        $"//isn't
                                                   !'0"that
                                                         ""
14 the
         "%part
              $"that's
                    ""0!2 !%in'the
                            used      "%verses
                                           3%!%!of#4the
                                                        "%!#'5
                                                            song

56 "Thinking
         78 '9 '5:  2"Loud"?
                     Out  ;#27<
6 A.=,>  %,&
                        Yeah.    So#for
                                     4#me,
                                          ?%*achord
                                                  @#
7 !   %A2%'@%that
                    ""goes
                          5#%!through
                                "#25the
                                          "% #B%song
                                                      !#'5@ '
   
8C   sequence

       get
         5%"
                                               whole        can

              aD "boring,
                     D# '5*!  #I)changed
                                     @'5%it"  %'it"//
E9 it"got
                bit

             5#"to
                 "#the
                     "%$
                              so

                           %@#2!to"#an
                                                   when

                                          'Eminor,
                                                ? '#*to"#'A=
F  ! %3%'"*to"#the
                          prechorus

                       "%G
                                                            an

                            D"#//+   %*it's
                                               "0!changed.
                                                    @'5%,
10

    seventh,

       .  ,Okay.
                        :9+,
                              to      yeah,

11

(           Q.
       G    #+#29  '# ""a
                                              7hook"
                                                  ##97is!
12

-    " 'the
                        Do

                 "%context
                            you

                      @#'"%H"of
                                 know

                                #4$
                                        what

                                     #$music?
                                         ?2! @<
13

1    within

       MS.I&,FARKAS:
                                    pop

                             J=KL=&M:   DN%@" #',
14

6  A.=,Could
                        #2BbeD%
                                         Objection.

                                     '+" '5,
15

  .  ,Okay.
                        :9+,
                                    anything.

16
               Q.
 
17
      O    #
                        How   #2B+
                             would    #2define
                                     you  %4 '%"a7hook"
                                                      ##97in'
C 
18
      + #2
         your   #!<
               words?

E 
19
      A.=,I)don't
                           #'0"9  '#,
                                   know.

(20F 
      .  ,P
                Q.        %BB*let
                        Well,   B%"me
                                     ?% !9+
                                         ask   #2this:
                                              you  " !MO 3%
                                                           Have

(21 
      + #2
         you   %the
              heard  "%term
                          "%?"hook"
                                7##97before?
                                         D%4#%<
(22( 
      A.=,>  %!,
                        Yes.

(- 
23
      .  ,Okay.
                Q.      :9+,
(241 And ='as
                             !a ! '5%and
                                            'asongwriter,
                                                    !#'5 "%*
     
(256   #2B+ #2! +that
                          ""part
                                    singer

                                $"#  4%'+  #2%
         would  you  say              of  when  you  are


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